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March 10, 2003

In Leaderless Gaza, Israeli Forces and Hamas Fight It Out
By GREG MYRE

AZA, March 9 _- At Yasir Arafat‘s bombed out and deserted headquarters here, one can gaze through the missing front door, past
piles of broken concrete, straight to the placid Mediterranean Sea.

Security guards sitting in the shade of a palm tree are the only people present, and their main concern is a flyspeck on the horizon, which
they say is an omnipresent Israeli naval boat.

The tight Israeli restrictions on Mr. Arafat, the Palestinian leader, have prevented him from setting foot in Gaza for Well over a year, and
other senior Palestinian officials are only rare visitors, leaving this coastal strip running largely on auto-pilot.

Palestinian political leaders are still in regular telephone contact,'and in some ways, Gaza feels less tense and constricted than the West

` 'Bank, where Israeli troops are in or near almost ever city.and town; But,there is little to suggest active political management here, and it v . . t

raises the question'. ls anyone running Gaza?

"Right now, only God is in charge," said Muhammad Dahlan, who was the head of the Palestinian preventive security forces in Gaza until
he resigned last `year. "The Israelis have greatly weakened the Palestinian Authority, and Hamas is gaining more support. Is this the result
Israel wants?"

The issue has taken on added urgency at a time when Israeli forces are waging a fierce crackdown in Gaza against Hamas, the militant
Islamic group. In the last three weeks, Israeli security forces have killed dozens of Palestinians, including both militants and civilians,
while Hamas has carried out several deadly attacks against Israeli soldiers and civilians.

In Gaza City, the largest Palestinian city in either the Gaza Strip or the West Bank, everyday life still carries on. Children flock to the
crowded schools, hospitals tend to the ailing, and policemen are present on most street comers.

“Sometimes Iwonder how we are functioning at all without a central government," said Salah Abdel Shafi, who runs the Gaza Community
Mental Health Program, which offers a range of services throughout Gaza. "The young guys carrying guns are dominating the street.
Various groups are all trying to impose their own agenda, and no one really has control.“

Gaza is poorer, more traditional and more conservative than the West Bank, and the absence of a strong government has prompted Gazans
to turn to their extended families to solve disputes, Mr. Abdel Shafi said.

Even murders and other serious crimes are now handled by the families involved, without intervention by the police or the courts, he said.
Previously, that occurred on occasion, but it has become increasingly common as the Middle East conflict drags on and the Palestinian
authorities are less and less visible

"Where is the Palestinian Authority?" Dr. Mahmoud Zahar, a senior Hamas leader, asked with a whiff of sarcasm. "People here have lost
hope in them. They don't offer protection from the Israelis. And people see massive corruption at a time when they are looking for 100
shekels to send their kids to school."

Dr. Zahar described Hamas as "the alternative" to the current Palestinian leadership, and said the increased Israeli military presence in
Gaza would highlight the weakness of the Palestinian Authority and Hamas's ability to fight back.

"lsrael is simply facilitating our role by coming to Gaza," he said.

The most powerful Palestinian official living in Gaza full time may be Rashid Abu Shbak, who took over from Mr. Dahlan as the head of
preventive security. But Israeli aircraft destroyed his office compound last year, and he now works from the third floor of a small,
nondescript office building set above a bakery.

Mr. Shbak argues that most Palestinian Authority institutions still function, even without the presence of the political leaders, but says the
Israeli military has made his job almost impossible

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` "They have Weakened our power, but we have not vanished," Mr. Shbak said.

` Israel says that it launched its Gaza operations because the Palestinian Authority was unable or unwilling to halt attacks, and that it will
continue to target Hamas. "No terrorist leaders, including those of Hamas, can lay claim to the slightest immunity," Israel‘s defense
minister, Shaul Mof`az, said today.

Mr. Shbak noted that he had reached an agreement with Hamas to stop firing rockets at Israeli targets, and for several weeks the deal held.
But after a Hamas bomb killed four lsraeli soldiers in a tank inside Gaza on Feb. lS, the Israeli military and Hamas have been locked in an

almost daily battle.

For the first time in 29 months of fighting, Israeli troops have entrenched themselves in a Palestinian area in Gaza, carving out a strip
inside the northern border in an effort to prevent Hamas rocket attacks.

Still, three rockets were fired early today from northern Gaza, landing in the Israeli town of Sederot, which is just on the far side of the
Gaza fence. The attack caused no injuries or damage, but showed that the Israelis had not eliminated the rocket threat.

The latest unrest came as Mr. Arafat was preparing to create the position of prime minister, to share in the day-to-day running of the
government The United States, among others, has called for the move as one of several reforms it is seeking.

Mr. Araf`at, who rarely leaves his battered compound in the West Bank city of Ramallah, has offered the position to Mahmoud Abbas, the

No. 2 man in the Palestine Liberation Organization and a longtime aide.

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